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                                   STATEMENT OF FACTS

        Your affiant, Joseph C. McGinn, is a Special Agent assigned to Federal Bureau of
Investigation’s (FBI) Philadelphia Field Office. In my duties as a Special Agent, I investigate a
variety of federal crimes. Currently, I am a tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         On or about January 22, 2021, the Pennsylvania State Police referred a tip from the East
Norriton (PA) Police Department (ENPD) to the FBI. On January 15, 2021, ENPD spoke in person
to the individual (CW-1) who referred the tip to the FBI. CW-1 stated to ENPD that an individual,
later identified as, CW-2, received pictures via text message. The pictures received by CW-1
showed an individual, later identified as Brian E. Stenz (STENZ), inside of the U.S. Capitol
Building on January 6, 2021. CW-1 provided ENPD with the name of CW-2. CW-1 stated that he
is familiar with and personally knows STENZ.

        On or about January 16, 2021, ENPD spoke to CW-2. CW-2 is familiar with and personally
knows STENZ. CW-2 stated CW-2 received text messages from STENZ. CW-2 told ENPD that
these text messages came from phone number                 and that phone number
      belongs to STENZ. CW-2 showed ENPD the text messages containing the pictures of
STENZ inside of the U.S. Capitol on January 6, 2021. Local law enforcement forwarded this
information to the FBI. The FBI subsequently spoke to CW-2, who confirmed the information
he/she provided to local law enforcement.

       CW-2 provided the below photograph. This photograph appears to show STENZ inside of
the U.S. Capitol on January 6, 2021. CW-2 stated that the individual wearing a green mask and a
baseball cap is STENZ.




       FBI reviewed additional photographs provided by CW-2. The photographs appear to have
been taken both outside and inside of the Capitol Building on January 6, 2021. Your affiant
submitted eight pictures to the U.S, Capitol Police who confirmed that some were taken inside of
the Capitol. The picture of STENZ above was confirmed to have been taken inside the Capitol.



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        Your affiant received and reviewed records from T-Mobile and learned that the subscriber
for the phone number                     is CARLA ZAMESKA, address
                                    Your affiant reviewed PA DMV records and confirmed the
address                                                          for ZAMESKA. Open source
records show that CARLA STENZ’s maiden name is ZAMESKA.

       Through additional investigation, your affiant learned that STENZ also lists a home address
of                                                 Open source records show CARLA STENZ is
married to BRIAN STENZ. Based upon your affiant’s experience, it is not unusual for an
individual to possess a phone that is subscribed in the name of a spouse or other family member.

        On or about April 9, 2021, FBI conducted an in-person, non-custodial, interview of
STENZ. STENZ’s attorney was also present for the interview. The following is not intended to be
a verbatim account of the interview and is intended to be a summary of the interview. During the
interview, STENZ stated that he traveled to Washington, D.C., the morning of January 6, 2021.
STENZ confirmed that he entered the U.S. Capitol on January 6, 2021, after observing other
individuals gaining entry. STENZ stated that he observed other individuals breaking U.S. Capitol
windows to gain entry. STENZ stated that he was inside of the U.S. Capitol for a few minutes
before leaving. During the interview, STENZ confirmed that he is the individual pictured below
in the green mask and baseball cap and that the picture was taken inside of the U.S. Capitol on
January 6, 2021.




       Based on the foregoing, your affiant submits that there is probable cause to believe that
STENZ violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of

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Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that STENZ violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Special Agent Joseph C. McGinn
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 28th day of April 2021.
                                                                       2021.04.28
                                                                       17:35:18 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      UNITED STATES MAGISTRATE JUDGE




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